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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

                                                 )
 SNUGGLYCAT INC.,                                )
         Plaintiff,                              )
                                                 )
 v.                                              )
                                                 ) Civil Action No. 3:17-cv-00526-SRU
 RUTLEDGE & BAPST, INC. and                      )
 RONALD STEBLEA,                                 )
                                                 )
                   Defendants.                   ) MARCH 6, 2018
                                                 )


                   STIPULATION [AND PROPOSED ORDER] OF DISMISSAL

         WHEREAS, Plaintiff SnugglyCat Inc. (“Plaintiff”) and Defendants Rutledge & Bapst,

 Inc. and Ronald Steblea (“Defendants”) have resolved Plaintiff’s claims for relief against

 Defendants in this case.

        IT IS HEREBY STIPULATED AND AGREED, pursuant to Federal Rule of Civil

Procedure 41(a)(2), by Plaintiff and Defendants , through their undersigned attorneys, and subject

to the approval of the Court, that this action be voluntarily dismissed with prejudice, with all

attorneys’ fees, costs of court and expenses borne by the party incurring same.




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 PLAINTIFF SNUGGLYCAT INC.                      DEFENDANTS
                                                RUTLEDGE & BAPST, INC. and
  /s/ Ivana D. Greco                            RONALD STEBLEA
 Ivana D. Greco
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                                                Attorneys for Defendants Rutledge & Bapst, Inc.
                                                and Ronald Steblea




                   IT IS SO ORDERED this _____ day of March, 2018.

                   ____________________________________________
                   The Honorable Stefan R. Underhill




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                                 CERTIFICATE OF SERVICE

        I hereby certify, that on this 6th day of March, 2018, I served the foregoing Stipulation of

Dismissal on counsel for Defendants via electronic mail at the following addresses:

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                                                      /s/ Michael J. Kasdan
                                                      Michael J. Kasdan




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